           Case 1:18-cr-00246-NODJ-BAM Document 89 Filed 01/16/20 Page 1 of 4


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 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:18-CR-00246-DAD-BAM
12                                Plaintiff,            STIPULATION REGARDING EXCLUDABLE
                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT
13                           v.                         FOR DEFENDANT SADOL DIAZ-BELTRAN;
                                                        FINDINGS AND ORDER
14   RUBEN CORTEZ-ROCHA,
     JOSE LOZANO,                                       CURRENT DATE: January 27, 2020
15    aka “Junior”                                      CURRENT TIME: 1:00 p.m.
     SADOL DIAZ-BELTRAN, and                            COURT: Hon. Barbara A. McAuliffe
16   RICARDO ZEPEDA-NAVARRO,
                                                        PROPOSED DATE: March 9, 2020
17                                Defendants.
                                                        PROPOSED TIME: 1:00 p.m.
18                                                      COURT: Hon. Barbara A. McAuliffe

19
                                                 STIPULATION
20
            Plaintiff United States of America, by and through its counsel of record, and defendant SADOL
21
     DIAZ-BELTRAN (“DIAZ-BELTRAN”), by and through his counsel of record, Roger Wilson, hereby
22
     stipulate as follows:
23
            1.      On December 10, 2018, defendant DIAZ-BELTRAN was arraigned and released on
24
     conditions. The Court set a status conference for February 11, 2019, and excluded the time from
25
     December 10, 2018, through February 11, 2019 under the Speedy Trial Act. Doc. 29.
26
            2.      At the status conference on February 11, 2019, the Court set a further status conference
27
     on May 13, 2019, and excluded time from February 11, 2019, through May 13, 2019. Doc. 50.
28

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
          Case 1:18-cr-00246-NODJ-BAM Document 89 Filed 01/16/20 Page 2 of 4


 1          3.     On May 9, 2019, the Court granted the parties request to continue the status conference to

 2 August 26, 2019 at 1:00 pm, and excluded time from May 13, 2019 to August 26, 2019, inclusive, under

 3 the Speedy Trial Act. Doc. 60.

 4          4.     At the status conference on August 26, 2019, the Court set a further status conference on

 5 November 12, 2019, and excluded time from August 26, 2019, through November 12, 2019. Doc. 70.

 6          5.     At the status conference on November 12, 2019, the Court set a further status conference

 7 on January 27, 2020, and excluded time from November 12, 2019, through January 27, 2020. Doc. 79.

 8          6.     By this stipulation, the parties now move to continue the January 27, 2020 status

 9 conference, to March 9, 2020, and to exclude time between January 27, 2020, and March 9, 2020,
10 inclusive, under the Speedy Trial Act, 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv).

11          7.     The parties agree and stipulate, and request that the Court find the following:

12                 a)      The government has represented that the discovery associated with this case

13          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

14          of which are in a foreign language. This discovery has been produced directly to counsel.

15                 b)      Counsel for defendant desires additional time to review the current charges, to

16          review the discovery, to conduct research and investigation related to the charges and potential

17          pretrial motions, and to consult with his client.

18                 c)      Counsel for defendant has various conflicts in other cases between now and the

19          proposed March 9, 2020 hearing that would not reasonably permit him to try this case any time

20          between now and at least March 9, 2020.

21                 d)      Counsel for defendant believes that failure to grant the above-requested

22          continuance would deny him the reasonable time necessary for effective preparation, taking into

23          account the exercise of due diligence.

24                 e)      Based on the above-stated findings, the ends of justice served by continuing the

25          case as requested outweigh the interest of the public and the defendants in a trial within the

26          original date prescribed by the Speedy Trial Act.

27                 f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

28          et seq., within which trial must commence, the time period of January 27, 2020 to March 9,

      STIPULATION REGARDING EXCLUDABLE TIME               2
30    PERIODS UNDER SPEEDY TRIAL ACT
             Case 1:18-cr-00246-NODJ-BAM Document 89 Filed 01/16/20 Page 3 of 4


 1             2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(i) and (iv)

 2             because it results from a continuance granted by the Court at defendant’s request on the basis of

 3             the Court’s finding that the ends of justice served by taking such action outweigh the best interest

 4             of the public and the defendants in a speedy trial.

 5             8.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 6 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 7 must commence.

 8             IT IS SO STIPULATED.

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10
      Dated: January 16, 2020                                    McGREGOR W. SCOTT
11                                                               United States Attorney
12
                                                                 /s/ ANGELA L. SCOTT
13                                                               ANGELA L. SCOTT
                                                                 Assistant United States Attorney
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16
     Dated: January 16, 2020                                 __ s/ per email authorization______
17                                                           ROGER WILSON
                                                             Counsel for Defendant
18                                                           SADOL DIAZ-BELTRAN
19

20
                                               FINDINGS AND ORDER
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               Pursuant to the parties’ stipulation and good cause shown, IT IS HEREBY ORDERED that the
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     status conference, currently set for January 27, 2020, is hereby vacated and continued to March 9, 2020,
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     at 1:00 p.m. It is further ORDERED that the time period between January 27, 2020, and March 9, 2020,
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     //
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     //
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          STIPULATION REGARDING EXCLUDABLE TIME              3
30        PERIODS UNDER SPEEDY TRIAL ACT
          Case 1:18-cr-00246-NODJ-BAM Document 89 Filed 01/16/20 Page 4 of 4


 1 inclusive, is excluded from the calculation under the Speedy Trial Act pursuant to 18 U.S.C.§

 2 3161(h)(7)(A), B(i) and (iv) for the reasons stated in the parties’ stipulation.

 3
     IT IS SO ORDERED.
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 5      Dated:     January 16, 2020                           /s/ Barbara A. McAuliffe             _
                                                       UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME               4
30    PERIODS UNDER SPEEDY TRIAL ACT
